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 5 Attorney for Defendant Greg O’Brien      Attorneys for Plaintiff International
                                            Technological University Foundation
 6
 7
 8                            UNITED STATES DISTRICT COURT

 9                        NORTHERN DISTRICT OF CALIFORNIA

10 INTERNATIONAL TECHNOLOGICAL              CASE NO. 5:22-cv-04576-BLF
   UNIVERSITY FOUNDATION, a
11 California corporation,                  The Honorable Beth Labson Freeman

12               Plaintiff,                 JOINT STIPULATION AND
                                            [PROPOSED] ORDER REGARDING
13                                          RESPONSIVE PLEADING
           v.                               DEADLINE FOR DEFENDANT
14 WASC SENIOR COLLEGE AND                  GREG O’BRIEN
   UNIVERSITY COMMISSION, a                  AS MODIFIED BY THE COURT
15 corporation, SOFIA UNIVERSITY, SPC,
                                            Courtroom:         No. 3, 5th Floor
16 a corporation, GREG O’BRIEN, an          Address:
   individual, BARRY RYAN, an                                  U.S. Courthouse
17 individual, and DOES 1-10,                                  280 South 1st Street
                                                               San Jose, CA 95113
18               Defendants

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                         STIPULATION AND [PROPOSED] ORDER
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 1                                    STIPULATION

 2        Plaintiff International Technological University Foundation (“ITU”), and

 3 Defendant Greg O’Brien, by and through their undersigned counsel, hereby stipulate
 4 as follows:
 5        WHEREAS, ITU filed its original complaint on August 8, 2022.

 6        WHEREAS, Defendant O’Brien’s responsive pleading is currently due on

 7 September 29, 2022.
 8        WHEREAS, the parties have agreed to extend the deadline for Defendant

 9 O’Brien to file his responsive pleading, without waiver of any defenses or objections
10 to the lawsuit.
11        IT IS ACCORDINGLY HEREBY STIPULATED AND AGREED, by and

12 between the undersigned counsel for ITU and Defendant O’Brien, subject to the
13 Court’s approval, as follows:
14        Defendant O’Brien shall file its responsive pleading by October 14, 2022,

15 without waiver of any defenses or objections to the lawsuit.
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17
     DATED: September 23, 2022        ASHBY LAW FIRM P.C.
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19
                                          By /s/ Joseph R. Ashby
20                                          Joseph R. Ashby
21                                          Attorneys for Defendant Greg O’Brien
22
23 DATED: September 23, 2022          STRONG & HANNI P.C.

24
                                          By /s/ Joseph Shapiro
25                                          Joseph Shapiro
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                                            Attorneys   for   Plaintiff  International
27                                          Technological University Foundation

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                        STIPULATION AND [PROPOSED] ORDER
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1                         NDCA LR 5-1(h)(3) Declaration

2      I attest that Joseph Shapiro concurs in the filing of this document.

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4 DATED: September 23, 2022            ASHBY LAW FIRM P.C.

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6                                      By /s/ Joseph R. Ashby
                                         Joseph R. Ashby
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                                          Attorneys for Defendant Greg O’Brien
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                    STIPULATION AND [PROPOSED] ORDER
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1      PURSUANT TO STIPULATION, IT IS SO ORDERED. The Court advises that,
       in the event a motion to dismiss is filed, the combined page limit for all motions to
2      dismiss is 25 pages for the opening, 25 pages for the opposition, and 15 pages for
       DATED: _______________,     2022       the reply, regardless of the number of separate
3                September 28
                                              motions filed by the various defendants.
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6                                          Hon. Beth Labson Freeman
                                           United States District Court
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                     STIPULATION AND [PROPOSED] ORDER
